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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
YITZCHOK ROKOWSKY,
Plaintiff : 3:15-cv-02059 (FLW-LHG)

 

V.

SUNGAME CORPORATION,
ROBERT KLOIHOFER, NEIL
CHANDRAN, JP MORGAN : VOLUNTARY DISMISSAL
CHASE & CO., JOHN DOES 1-
100,
Defendant(s).

 

The Court having held a telephonic conference with the parties on July 27,
2015, and having provided Plaintiff with 60 additional days within which to locate
Defendant Robert Kloihofer so that service could be effectuated; and the Plaintiff
being unable to currently locate and serve Defendant Robert Kloihofer despite
good faith efforts and search,

The Plaintiff Yitzchok Rokowsky, by and through its counsel Anthony L.
Velasquez, Esq., hereby submits to the Court this VOLUNTARY DISMISSAL of
this action against DEFENDANT ROBERT KLOIHOFER, such dismissal being
submitted without prejudice and subject to being re-filed if and when Defendant
Robert Kloihofer is located by the Plaintiff, in accordance with all other applicable

laws and rules of procedure.

ZT)

Anthdény ZK Vélasqtied, Esq., Attorney for
Yitzchok Békowsky,Plaintiff October 2, 2015
